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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

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BAY ve. Locke )

 

 

 

 

 

 

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fever _ lLocKe ) c
(Enter above the NAME of the :

plaintiff in this action.) )

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Weta pwn Co. Te, J Bers $f )
(Enter above the NAME of each

defendant in this action.) )

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(42 U.S.C. Section 1983)

I. PREVIOUS LAWSUITS

a

A. Have you begun other lawsuits in state or federal court dealing with the same facts an
involved in this action or otherwise relating to your imprisonment? YES(__) NO( 7)

B. If your answer to A is YES, describe the lawsuit in the space below. (If there is more
than one lawsuit, describe the additional lawsuits on another piece of paper, using the
same outline.)

 

 

 

1. Parties to the previous lawsuit:
Plaintiffs: a ve
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Defendants: : iH ZL

 

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I.

2. COURT: (if “h court, name the district; if state court, namefthe county):

 

 
 
 
 

 

 

 

 

 

 

i ’

é /
3. DOCKET NUMBER: /

7 i
4, Name of Judg¢ to whpm case way/assigned: / a
5. Disposition/(For example: Wag the case sansa fs Is it still
pending?)
6. Approxiynate date of filing lawsuit: / \
7. Approximate date of dispopition: ‘@
/

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PLACE OF PRESENT CONFINEMENT: Apepse etd How Fit~FPeril ——fAF ote Z 4 ho
77.CO%- Po BeX Reece Mor Ph eg @ IM 3BIFS 7
A. Is there a prisoner grievance procedure in this‘institution? YES (NO ( )

B. Did you present the facts relating to your complaint in the prisoner grievance procedure?
YES( ) NO(s

ioe If your answer is YES,

1. What steps did you take?

 

 

2. What was the result?

 

 

D. If your answer to B is NO, explain why not. Be canpr 4 "FP ep cai Jo
pe L. ‘Ke tale 'ag Le The en rfl

E, If there is no prison grievance procedure in the institution, did you complain to the
prison authorities? YES( ) NO(

F, If your answer is YES,

I. What steps did you take?

 

 

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I.

2. What was the result?

 

 

PARTIES

(In item A below, please your name in the first blank and place your present address in the

_ second blank. Do the same for any additional plaintiffs.)

A. Name of plaintiff: 2, WS t= - lacke IEF 19 cccmeasti
17 tt.X, Po Bek Deee merT bury FW. 378 7
Present address: oP Bet CYP A Foren PML JLIEF
Permanent home address: Box "2, Yor CR 1 $ Fo Eo o- oh TL BPE, E/
Address of nearest relative: (an Locke Sager attr cPS A
(in item B below, place the FULL NAME of the defendant in the first blank, his official

position in the second blank, and his place of employment in the third blank. Use item C for
the additional names, positions, and places of employment of any additional defendants.)

B. Defendant: L ie. Bar St ) LIAM Breedet
Official position: (2.7, Lh lke hg aals
Place of employment: 4.2/4 iM Le “n~y tet f

C. Additional defendants: _py2,¢pyeW_£ ect fy: Jat L. Sher rte
Sect Ku Lheue Catt fry” [esec- £44 65 H/

eb, SecukrtS Le ch, tae 7

 

STATEMENT OF CLAIM

(State here as briefly as possible the FACTS of your case. Describe how EACH defendant is
involved. Include also the names of other persons involved, dates and places. DO NOT give
any legal arguments or cite any cases or statutes. If you intend to allege a number of related
claims, number and set forth each claim in a separate paragraph. Use as much space as you

need. Attach extra sheets, if necessary.)
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Case 1:22-cv-00002-TAV-SKL Document 2 Filed 01/03/22 Page 3o0f14 PagelID# 9
  
   

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Case 1:22-cv-00002-TAV-SKL Document 2 Filed 01/03/22 Page5of14 PagelD#: 11
V. RELIEF

(State BRIEFLY exactly what you want this Court to do for you. Make NO legal arguments.

Cite NO cases or statutes.) ;
Bice, Ce

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{ (We) hereby certify under penalty of perjury that the above complaint is true to the best of
my (our) information, knowledge and belief.

$225 day of 1D ~Be 202).

  

Signed this @

Signatufe of plaintiff(s)

Case 1:22-cv-00002-TAV-SKL Document 2 Filed 01/03/22 Page 6 of 14 PagelD #:12
    

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Report Details

Patient Name:

Patient ID:
Date of Birth:
Gender:

Accession:

Reporting
Physician:
Procedure:
Procedure ID:

Report Text

Comparison: None
History: Trauma

Scrotal ultrasound:

Right testicle measures 4.5 x 2.2 x 3.8 cm. Left testicle measures 3.9 x 1.8 x 3.4 cm. Bil

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‘Starr Re

MEDICAL CENTER

LOCKE, BILLY

105904
8/2/1969 Age 50
M

35876440000100

HAYES, DOUGLAS

US TESTICULAR/SCROTUM US
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No. 7730) =P. 1/7]

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Procedure
Date:

Patient Group:
Phone:

Referring
Physician:

Accession:

7/1/2020 9:59 AM
TN-ARMC
(423)745-5620

TRENTHAM, NATHAN

2

35876440000100

lly there is

normal vascular flow with no evidence for fracture or torsion. Small right hydrocele is identified simple in
appearance. Smail left spermatocele is present and smal! left hydrocele present. Left carotid

are normal.

Impression:

#1 small bilateral simple hydroceles

imple- t Gi ' i .
#2 small simple-appearing left @pididymal syst measuring 6 mm

#3 otherwise age-appropriate unremarkable scrotal ultrasound without evidence for acute posttraumatic
pct ce

abnormality
Signed by:

HAYES, DOUGLAS

Date Signed:

TN-ARMC Facility

7/1/2020 3:33 PM

Patlent Name; LOCKE, BILLY DOB: 8/2/1969 Age 50 Accession: 35876440000100 Exam Date: 7/1/2020

page 1 of J

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AvY
; STATE OF TENNESSEE
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KL DEPARTMENT OF CORRECTION
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MEMORANDUM

TO: Inmate BILLY WAYNE LOCKE, TOMIS #135987
THROUGH: Trust Fund Administrator, MCCX

FROM: Central Trust Fund Administration

DATE: 7/20/2021

SUBJECT: TCA 40-25-143 Collecting from Trust Fund Account

The State has paid $309 court costs in Case(s) #2020CR216, MCMINN County.

TCA 40-25-130 directs the criminal courts to bill the State for certain court costs for which the defendant is liable. The
costs are assessed by the criminal court clerk’s office and do not appear on the judgment order. These costs cannot be
waived or set aside and cannot be suspended due to an appeal status of a case.

TCA 40-25-143 provides that when the State has paid these costs on behalf of a Defendant, the Department of Correction
may recover those costs for the State by collecting them from the Defendant’s trust fund account, while the Defendant is

in the custody of the Department.

In accordance with TCA 40-25-143, CTFA will set up automatic deductions of 50% of all deposits made to your trust fund
account until the court costs for which you are liable are repaid to the State in full. We are unable to set up any other
type of payment plan as it is TDOC procedure to rely on the TOMIS system to coliect the funds automatically. Per TDOC
policy 208.03, the monthly trust fund statement issued to you serves as the receipt for the fees and fines withdrawals.

INDIGENCY DOES NOT WAIVE THESE FEES

If you have questions about your STA write to the below listed address, NOT the institution staff. All letters must include
your TDOC number, the address to reply to and a specific request. DO NOT send any original paperwork to this office, it
will not be returned.

TDOC Central Trust Fund
3 Floor Rachel Jackson Bldg.
320 6 Ave North
Nashville, TN 37243

If necessary, and if you meet policy guidelines, your name will appear on the “Offenders Eligible
to Receive Hygiene Kits” report and TDOC will provide a kit for you.

PC: MCCX, Central Trust Fund Administration

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JAN 0 3 2022

Clerk, U. S. District Court
Eastern Te

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